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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                             UNITED STATES DISTRICT COURT                                 July 29, 2022
                              SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


CHRISTOPHER WYATT,                               §
                                                 §
        Plaintiff,                               §
                                                 §
VS.                                              §   CIVIL ACTION NO. 4:22-CV-02069
                                                 §
PHH MORTGAGE CORPORATION, et al.,                §
                                                 §
        Defendants.                              §
                                                 §

                                             ORDER

       A suggestion of bankruptcy has been filed in this cause by plaintiff Christopher Wyatt (Dkt.

No. 4). The plaintiff/debtor filed a petition under Chapter 13 of the Bankruptcy Code in the United

States Bankruptcy Court for the Southern District of Texas, Case No. 22-31597. A petition filed

under 11 U.S.C. §§301, et seq., operates as a stay of a judicial proceeding that was commenced

against the debtor before the bankruptcy proceeding. 11 U.S.C. §362(a)(1). Accordingly, this case

is STAYED as to plaintiff Christopher Wyatt.

       It is so ORDERED.

       SIGNED on July 29, 2022, at Houston, Texas.


                                                      _________________________________
                                                      Kenneth M. Hoyt
                                                      United States District Judge




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